- Minu:e ordér Fo:m (06197)

" % /}O United States District Court, Northern District of Illinois

 

 

 

 

 

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CASE NUMBER 96 C 7936 (?n/IMQ_ 5) DATE 5/18/2000
CASE United States of America vs. Robert J. Tezak
TITLE

 

 

 

 

[In the following box (a) indicate the party filing the motion, e.g., plaintiff defendant, 3rd party plaintiff, and (b) state briefly the nature
of the motion being presented.]

 

 

 

 

 

 

 

MOTION:

DOCKET ENTRY:

(l) ij Filed motion of [ use listing in “Motion” box above.]

(2) l:] Brief in support of motion due

(3) l:l Answer brief to motion due__F. Reply to answer brief due

(4) l:l Ruling/Hearing on ___ set for __ at

(5) Cl Status hearing[held/continued to] [set for/re-set for] on ___ set for __ at

(6) El Pretrial conference[held)'continued to] [set for/re-set for] on _F set for H___ at _.__
(7) l:l Trial[set for/re-set for] on d_ at

(8) |:l [Bench!Jury trial] [Hearing] held/continued to __ at

(9) |:] This case is dismissed [with/with`out] prejudice and without costs[by/agreement/pursuant to]

r:s FRCP4(m) m oen_eral Rul@ 21 ij FRCP41(a)(1) l:i FRCP41(a)(2).

(10) l [Other docket entry] Enter MEMORANDUM, /O INION AND ORDER: For the foregoing
reasons, the amended Section 2255 habeas corpus pe 1t1 n brought by Robert Tezak is denied. Mr.
Tezak’s motion to recuse this Court also is denied. This is a final and appealable order.

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(1 1) l [For further detail see order attached to the original minute order.]

 

 

 

No notices requircd, advised in open court.

 

 

 

 

  
  
  
 

 

 

 

 

 

 

No notices required

 

 

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

 

 

EASTERN DIVISION
UNITED STATES OF AMERICA, )
)
Petitioner, )
v. ) No. 92 CR 652
) 96 C 7936
_ ) Honorable Wayne Andersen
ROBERT J. TEZAK, )
)
Respondent. ) . _ 4
bde ;`l tll
MEMoRANDUM, oPINIoN & oRDER NA`Y 1 9 ZUDU

This case is before the court on the amended petition of Robert J. Tezak for a writ of habeas
corpus pursuant to 28 U.S.C. § 2255. Also before the court is Mr. Tezak’s motion to recuse this
Court pursuant to 28 U.S.C. § 144. For the reasons stated below, we deny the amended petition for
habeas corpus and deny the motion to recuse.

BACKGROUND

On August 6, 1987, a fire occurred at the Galaxy Bowl in Cresthill, Illinois. Although the
building was not totally destroyed, Colonial Penn Insurance Cornpany paid $50,000 in clean up
costs. A grand jury investigation regarding this tire was undertaken by the U.S. Attorney for the
Northern District of Illinois. Four months later, on December 4, 1987, the three story PIC building
was destroyed by fire. The PIC building housed the offices of the Private Industry Council and the
Will County Center for Community Concern. Following the tire a joint federal/local arson
investigation Was commenced, eventually focusing on a local contractor named Stephen Kezerle as

a suspect.

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After a lengthy investigation, a federal grand jury in the Northern District of Illinois returned
an indictment in August, 1992 charging four individuals with conspiracy and arson in connection
with the Galaxy Bowl fire. In September, 1992, Robert Tezak was also charged with conspiracy and
arson in regard to the Galaxy Bowl fire. This indictment was superseded on December 2, 1992 by
adding conspiracy and arson charges against Mr. Tezal< in connection with the PIC building fire.

Subsequently, a five count superseding information was lodged against Mr. Tezak alleging:
1) conspiracy to destroy the Galaxy Bowl by fire and to defraud Colonial Penn Insurance Company;
2) damage to real and personal property of Galaxy Bowl by fire; 3) conspiracy to destroy the
building by fire and obstruct justice; 4) destruction of the PIC building and its contents by fire; and
5) obstruction of justice for threatening his former daughter-in~law, who was a potential witness
Mr. Tezak was represented by Dan Webb, George Lombardi and Susan Mahoney of Winston &
Strawn. In October of 1993, Steven Popuch also began representing Mr. Tezak. J ames Casey, who
assisted Mr. Popuch in connection with this case, was an associate in Mr. Popuch’s law firrn.

On October 25,1993, Mr. Tezak pled guilty to counts one, two and five of the superseding
information pursuant to a plea agreement entered into with the United States Attorney. As part of
that agreement, Mr. Tezak admitted complicity in the PIC Building fire, even though the counts
pertaining to that offense were to be dismissed after Mr. Tezak was sentenced on counts one, two
and five. Mr. Tezak then retained the services of attorney Marsha Shein in early 1994 to act as a
consultant in connection with sentencing issues.

After extensive hearings, Mr. Tezak was sentenced at a hearing on July 29, 1994. The
Judgrnent was docketed on Au gust 10, 1994. Mr. Tezak received a 46 month sentence on count five,
a nine year consecutive term of imprisonment on count two and a consecutive term of five years

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probation on count one. In addition to the period of incarceration, Mr. Tezak was also ordered to
pay restitution to the Joliet Fire Department and to the insurer of the PIC building.

On September 15, 1994, Mr. Tezak filed a motion to extend the time for filing a notice of
appeal, which was denied by the Court on that date. On November 29, 1994, Mr. Tezak filed a
motion pursuant to Rule 35 of the Pederal Rules of Cn'minal Procedure to reduce his sentence, which
was denied by the Court on February 22, 1995. Under Rule 35 as it existed at the time, a defendant
was required to file a Rule 35 motion within 120 days from the time of sentencing or the entry of
a judgment If an appeal were filed, the trial court would be divested of jurisdiction and, after the
appeal process, the defendant would have 120 days to file a Rule 35 motion from the date of the
mandate

Following the imposition of the sentence, Mr. Tezak claims that he requested his attorney,
Steven Popuch, to file an appeal of the sentence Mr. Popuch denies this. Mr. Tezak claims that he
desired to appeal both the consecutive nature of the sentence as well as the three point enhancement
to the obstruction of justice charge

Before this Court had ruled on Mr. Tezal<’s Rule 35 motion to reduce his sentence, the State’s
Attorney of Will County began presenting evidence to the Will County Grand Jury in contemplation
of indicting Mr. Tezak on state arson charges regarding the PIC building fire. The transcript of Mr.
Tezak’s guilty plea colloquy with the Court on October 25, 1993 was presented to the Will County
Grand Jury.

On October 26, 1995, Mr. Tezak was indicted by a Will County Grand Jury on five counts
of arson, all of which related solely to the PIC building fire. Mr. Tezak’s attempt to dismiss the state
indictment on double jeopardy grounds was denied by the state court and upheld on appeal by the

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Illinois Appellate Court, Third Judicial District in an unpublished order in case number 3-96-0612.

The trial of the state case commenced on May 13, 1996. The sole evidence as to Mr. Tezak’s
participation in the PIC building fire presented at the state trial was the reading of the transcript of
his guilty plea containing the admissions regarding the PIC fire. Mr. Tezak was convicted on all five
counts of arson by a jury and was sentenced to a term of imprisonment of three years incarceration
consecutive to his federal sentence He was also ordered to pay restitution in the amount of
approximately $800,000.

Mr. Tezak then filed a § 2255 petition, which was later amended, for federal habeas corpus
relief in this Court. In his amended petition, Mr. Tezak claims that: 1) his Sixth Amendment right
to effective assistance of counsel was violated because his lawyer allowed him to plead guilty and
admit facts exposing him to state prosecution, thus depriving him of the constitutional protection of
the double jeopardy clause; 2) his Sixth Amendment right to effective assistance of counsel was
violated because his lawyer failed to perfect an appeal even though Mr. Tezak indicated a desire to
appeal; and 3) this Court lacked subject matter jurisdiction over the arson at the Galaxy bowl.

This Court allowed discovery on the issues presented in the amended petition. In addition,
on December 2, 1999, we held an evidentiary hearing on Mr. Tezak’s § 2255 petition At the
hearing, Mr. Popuch and First Assistant U.S. Attorney Gary Shapiro testified

DISCUSSION

As a preliminary matter, Mr. Tezak has filed a motion to recuse this Court from the case.
Although the Court orally denied this motion on May 6, 1997 soon after the motion was filed, we
indicated that we would address our reasons for the denial in our written opinion. In his motion to
recuse, Mr. Tezak claims that he was the underlying target of an investigation of one of his friends,

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John Bays, conducted by the Illinois Secretary of State’s office in 1985. In support of his motion,
Mr. Tezak states:

At the time, Judge Andersen was a high ranking official in the Chicago office of
that agency.. . [the Secretary of State’s office]. As a result of Mr. Tezak’s apparent
attempt to assist his friend by intervening in the investigation of the Secretary of
State’s office, he made himself the real target of the subsequent investigation As a
result of Mr. Tezak’s power and influence at the time . . . Judge Andersen, while an
official in the Chicago office of the Secretary of State’s office had to have been

aware of [these circumstances] . . . and as a result, had a bias against Tezak before
any information was acquired by the judge during the course of the judicial
proceedings

A motion to disqualify pursuant to 28 U.S.C. § 144 requires a showing that a presiding judge
has a personal bias or prejudice against a party. United States v. Balistrieri, 779 F.2d 1191, 1198
(7th Cir. 1985). A judge is required to disqualify himself in any proceeding in which his impartiality
might reasonably be questioned A district court judge’s decision not to recuse himself is reviewed
under an abuse of discretion standard 197 F.3d 266, 269 (7th Cir. 1999).

In this case, we find that, even if the allegations that Tezak was the real target of a Secretary
of State investigation and that the Deputy Secretary of State would have probably had knowledge
of the investigation in the motion were true, these allegations do not link this Court to the
investigation of John Bays. l resigned my duties as Illinois Deputy Secretary of State in December,
1984 to assume the position of Judge of the Circuit Court of Cook County. Therefore, l had no
connection with the Secretary of State’s office at the time the investigation was allegedly initiated
Moreover, even when l was employed with the Secretary of State’s office, my jurisdiction was
focused on Cook County, and l exercised no supervisory authority over the office in Will County.

Finally, I was completely unaware of this investigation until Mr. Tezak raised it in his motion. Thus,

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there are simply no facts alleged to substantiate Mr. Tezak’s claim that this Court had apersonal bias
against Mr. Tezak before this case even started.

For these reasons, we find that Mr. Tezak’s motion does not present any factually based
reason to question the impartiality of this Court. Therefore, Mr. Tezak’s motion to recuse this Court
is denied. Thus, we will now direct our attention to the merits of the § 2255 petition

I. INEFFECTIVE ASSISTANCE OF COUNSEL

A petitioner bears “a heavy burden in proving that [his] . . . attorney rendered ineffective

assistance of counsel.” United States v. Holland, 992 F.2d 687, 691 (7th Cir. 1993). In order to state

 

a claim for ineffective assistance of counsel, Mr. Tezak must show that his attorney “made errors
so serious that counsel was not functioning as the ‘counsel’ guaranteed . . . by the Sixth Amendment
“ and that his counsel’s “deficient performance prejudiced the defense.” United States v. Davenport,
986 F.2d 1047 (7th Cir. 1993). This test is highly deferential to the decisions of the attorney, and
this Court presumes that “counsel rendered adequate assistance and exercised reasonable
professional judgment in making all significant decisions.” United States v. Jackson, 103 F.3d 561 ,
573 (7th Cir. 1996).

A. The Plea Agreement

The first issue raised by the amended petition is the claim that Mr. Popuch did not provide
Mr. Tezak with effective assistance of counsel in connection with Mr. Tezak’s decision to plead
guilty because he allowed Mr. Tezak to admit facts exposing him to state prosecution, thus depriving
him of the constitutional protection of the double jeopardy clause.

“[A] voluntary and intelligent plea of guilty made by an accused person who has been
advised by competent counsel, may not be collaterally attacked.” Mab;y v. Johnson, 467 U. S. 504,

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508 (1984). Mr. Tezak is entitled to relief only if he proves that: 1) his plea was not voluntary and
intelligent; or 2) he did not receive the effective assistance of counsel required by the Sixth
Amendment resulting in the deprivation of a constitutional right; or 3) it is clear from the “face of
the record” that the Court had no power to enter the conviction and sentence

1n this case, Mr. Tezak argues that his counsel’s ineffective assistance deprived him of a
constitutional right not to be placed twice in jeopardy for the same offense. Mr. Tezak alleges that
he agreed to plead guilty only if, by doing so, all matters regarding the two fires would be resolved.
He alleges that he was assured by his counsel, Steven Popuch, that he would resolve all pending
matters by pleading guilty pursuant to the plea agreement prepared by the government Mr. Popuch
advised Mr. 'l`ezak to admit complicity in the PIC Building fire without pleading guilty to that
offense and without securing an agreement from the Will County prosecution to not bring charges
against Mr. Tezak. Mr. Tezak argues that Mr. Popuch’s performance in failing to protect him
against a subsequent prosecution by lllinois for the PIC fire was so deficient that it fell below an
objective standard of reasonableness under prevailing professional norms. As a result, Mr. Tezak was
subjected to a state prosecution for arson and received a three year sentence consecutive to that
which he received from this Court. Thus, Mr. Tezak argues that he was deprived of the
constitutional protection of the double jeopardy clause of the Fifth Amendment to the United States
Constitution and was subjected to successive punishment for the same conduct

1. The Plea Agreement Did Not Deprive Mr. Tezak Of
The Protections Of The Double Jeor)ardv Clause

Count 1 of Mr. Tezak’s amended petition is premised on an allegation that his counsel’s

ineffectiveness deprived him of the constitutional protection of the double jeopardy clause. We find

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that Mr. Tezak was not deprived of the constitutional protection of the double jeopardy clause for

several reasons.

First, no double jeopardy violation occurred in this Court because Mr. Tezak pled guilty and
was sentenced on the charges in this case before he was indicted, tried, convicted and sentenced in

state court. Therefore, no double jeopardy violation taints his federal conviction lf the double

 

jeopardy clause were violated, which it was not, then it was violated by Mr. Tezak’s subsequent state

conviction and sentence This § 2255 petition is not the proper procedure for attacking the state

conviction and sentence

Second, no deprivation of a federal constitutional right occurs when a state convicts a
defendant of a state crime that arises out of the same evidentiary facts as a previously adjudicated
federal criminal offense The “dual sovereignty doctrine” allows the federal government and a state
government, or two state governments, to bring successive prosecutions for offenses arising from

the same criminal act. Abbate v. United States, 359 U. S. 187, 196 (1959); Bartkus v. United States,

 

359 U_s. 121, 123-29 (1959); Heath v. Aiabama, 474 U.s. sz,ss (1935).

 

Third, it is clear that, while the double j eopardy clause bars courts from punishing defendants
twice for the same offense, the Supreme Court has held that consideration of uncharged relevant
conduct in determining a defendant’s sentence under the federal sentencing guidelines does not
constitute punishment for that conduct Therefore, double jeopardy does not bar a subsequent

prosecution for that conduct. Witte v. United States, 515 U.S. 389 (1995). Thus, there can be no

 

double jeopardy violation by a subsequent state court prosecution simply because the facts relating

to the PIC fire were offered in aggravation of the sentence imposed on the Galaxy fire and

obstruction charges in federal court.

 

Case: 1:96-CV-O7936-Decument #: 2-1e-F`rledt-O5/I87‘OO“Page 10 of 25 Page|D #:12

Finally, the double jeopardy clause is not violated by a defendant’s conviction in state and
federal court when the offenses are not the same The double jeopardy clause only applies when a
person is twice prosecuted or punished for the “same offense.” U.S. Const. Amend. V. In
Blockburger v. United States, 284 U.S. 299 (1982), the Supreme Court set forth the definitive test
for determining whether multiple prosecutions for a single act constitute prosecution for the same
offense Blockburger holds that the double j eopardy clause does not bar successive prosecutions for
the same act, even when there is substantial evidentiary overlap, if each offense requires an element
that the other does not. ld. at 304. S_er_: Bt_) Payne v. Virginia, 468 U.S. 1062 (1984).

In this case, a comparison of the crimes charged in counts 3 and 4 of the federal superseding
information with the crimes charged in counts 1 through 4 of the state bill of indictment shows that
the state statutory double jeopardy protection would not have prohibited a state court arson
prosecution no matter what the plea agreement in federal court said, whether or not Mr. Tezak pled
to counts 3 and 4, was convicted at trial of counts 3 and 4 or was acquitted at trial of counts 3 and
4.

The conspiracy charge contained in count 3 of the federal superseding information requires
proof only of an agreement to commit one of the alleged offenses against the United States and an
overt act in furtherance of the agreement No actual destruction, fraud or obstruction need be
proved. Count 4 requires proof that the property destroyed by fire was used in activities affecting
interstate commerce None of the state charges require proof of these facts. On the other hand, each
of the state arson charges contained in counts I through V requires proof of a fact not required by
the federal charges-- that property was destroyed by fire, was destroyed with the intent to defraud
an insurer, was owned by another and that the property destroyed was of a value exceeding $150.

9

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Therefore, the double jeopardy clause is not violated because Mr. Tezak was not punished twice for
the “same offense.”

For all of these reasons, we deny Mr. Tezak’ s claim that, because of the ineffective assistance
of counsel, he was denied the constitutional protection of the double jeopardy clause.

2. Failure to Seek Agreement with State Prosecutors

We turn finally to Mr. Tezak’s allegation that his counsel’s conduct in connection with the
plea agreement fell below the minimum standards for effective assistance of counsel required by the
Sixth Amendment of the United States Constitution because he did not seek the agreement of Will
County prosecutors not to prosecute Mr. Tezak for the state crimes which he admitted committing
in the federal plea agreement Mr. Tezak claims that Mr. Popuch promised that “all pending
matters” would be resolved by pleading guilty to counts one, two and five Moreover, he claims that
Mr. Popuch advised him to admit the PIC fire even though he was not pleading guilty to the offenses
relating to the admission and that he did not provide for an agreement with Will County not to
prosecute Finally, he claims that Mr. Popuch did not affirmatively tell him that he could be
prosecuted by the state However, Mr. Popuch testified that he did advise Mr. Tezak that he could
be prosecuted by the state, and we find his testimony on this issue to be credible

lt is clear that, at the time Mr. Tezak voluntarily and intelligently entered his guilty plea, he
had knowledge that he could not rely on the plea agreement to bar future prosecutions The written
plea agreement itself indicates that the plea agreement does not bar a state prosecution This is on
page one of the written agreement The plea agreement specifically states that “this Agreement is
limited to the United States Attorney’s Office for the Northern District of lllinois and cannot bind
any other federal, state or local prosecuting, administrative or regulatory authorities except as

10

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expressly set forth in this Agreement.” Thus, it is clear that Mr. Tezak was on actual notice that his
plea agreement did not forbid a subsequent state court prosecution

Moreover, this court verbally advised Mr. Tezak at the time of his guilty plea that the plea
agreement did not protect him from state prosecution The court read and explained the details of
the plea agreement to Mr. Tezak. No plea colloquy could have been more complete or better
calculated to ensure that a defendant’s plea was knowing and voluntary. Mr. Tezak specifically
acknowledged that he had read and understood the agreement and all of its parts and that he was
satisfied with the agreement and his lawyers Mr. Tezak asserted that his guilty plea was not based
on any other promises or representations other than those contained in the guilty plea.

Furthermore, the October 25, 1993 memoranda contained in Webb Group Exhibit 1 makes
it clear that Mr. Tezak had actual knowledge that future prosecutions could occur. In the October
25, 1993 Lombardi memo, Mr. Lombardi recounts his conversation of October 24, 1993 with Mr.
Tezak. The day before the guilty plea was entered, he relates Mr. Tezak’s specific concern that he
might be prosecuted again even if he continued to cooperate with the government Mr. Lombardi
states: “1 told him that there is nothing in the plea agreement which he had already signed, that
prevents Polales from prosecuting him if he continues to cooperate He [Tezak] said that he
understood what was in the plea agreement....” Mr. Lombardi goes on to recount that, prior to Mr.
Popuch’s appearance on the scene, Winston & Strawn had raised with the government the issue of
future prosecutions based on corruption and wiretap offenses The memo indicates that Mr. Polales
refused to enter into such an agreement but that Mr. Polales had indicated that as a practical matter
no indictment of the wiretap or corruption matter would occur. Thus, Mr. Tezak was well aware of
the possibility of future prosecutions

11

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Finally, at the very next court appearance on November 5, 1993, an error in the plea
agreement relating to the statutory maximum penalty was placed on the record and an amendment
to the plea agreement was made limiting the sentence on count five to five years in prison At this
time Mr. Tezak was given the opportunity to withdraw his plea but chose to reaffirm it. In doing so,
Mr. Webb took the time to note that he had been over the plea agreement with Mr. Tezak and that
his firm had advised Mr. 'I`ezak regarding the plea agreement
Thus, based on the explicit language of the plea agreement the court explanation of the plea
agreement and information contained in the Webb Group Exhibits, we find that Mr. Tezak knew,
or should have known, that it was possible that the state could prosecute him for the PIC fire.

Moreover, in the context of a guilty plea, a defendant is not entitled to § 2255 relief unless
he can show that, but for the deficient advice, he would have insisted on going to trial. H_il_lL
Lockhart, 474 U.S. 52, 59 (1985)', Gargano v. United States, 852 F.2d 886 (7th Cir. 1988). Mr.
Tezak cannot show that, but for the alleged deficient advice, he would have insisted on going to trial.

indeed, the October 15 and 25 Winston and Strawn memoranda demonstrate that Mr. 'I`ezak
wanted to plead guilty to the “Galaxy Bowl/Obstruction of Justice” counts and could only receive
a plea agreement on those counts if he truthfully admitted the PIC fire He came to the conclusion
that he would admit the PIC fire in order to get that deal. There is nothing in any factual submission
of Mr. Tezak that suggests another alternative was available to Mr. Tezak if he wanted the plea
agreement which he told Mr. Webb he wanted on October 15, 1993. 1n other words, there is no
reasonable probability that Mr. Tezak would have insisted on going to trial. lnstead, he insisted on

pleading guilty knowing that he could be prosecuted on additional offenses

12

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Mr. Webb indicated that Mr. Tezak wanted to work out a plea agreement and that plea
negotiations became “much more intense following the revocation of the bond.” lt is clear from Mr.
Webb’s deposition testimony that the government had refused to consider entering into a plea
agreement in the absence of a factual admission regarding the PIC fire and that even before Mr.
Popuch began negotiations Mr. Tezak did not want to plead to the PIC fire even if he admitted the
facts

In addition, Mr. Webb testified that he had reached an understanding of what a plea
agreement with the government would look like prior to Mr. Popuch’ s entry on the scene Mr. Webb
indicated that his recollection was that he was trying to negotiate a plea agreement in which Mr.
Tezak would plead guilty to the Galaxy Bowl because it was a pre-sentencing guidelines offense,
while the PIC fire was subject to the guidelines Mr. Webb also indicated that the government
required admissions about the PIC fire as a condition of the agreement and that it was not until
October 2, 1993 that Mr. Tezak was willing to talk to the government on this issue

lt is clear from Mr. Webb’s and Mr. Popuch’s testimony, as well as Mr. Fleissner’s affidavit
that Mr. Tezak did want a plea agreement and that he wanted to minimize the impact of the
guidelines Again, the memorandum of Mr. Webb dated October 15, 1993 shows that Mr. Tezak
was insistent that he wanted the “Galaxy Bowl/Obstruction of Justice deal.”

Thus, in evaluating Mr. Popuch’s representation only one real question remains Was Mr.
Popuch’s conduct unreasonable? Mr. Popuch has testified that he knows of many lawyers who
practice in federal court and whose clients admit facts in pleading guilty that expose them to state
court prosecutions that never seek to reach out to a state court prosecutor to negotiate a “global plea.”
After reading the plea agreement and noting that it did not bar future prosecutions Mr. Lombardi

13

Case: 1:96-CV-O7936-Becument #: Zd~FHed: O5/L187‘00 Page 15of'25 Page|D #:17

told Mr. Popuch he did a good job. First Assistant U.S. Attorney Gary Shapiro testified that the
incidence of state court prosecutions following federal factual admissions that could serve as
evidence of state crimes is so small that he cannot remember any. Moreover, there is no way the
federal prosecutors can force the state to agree not to prosecute For these reasons, Mr. Popuch
was well aware of the possibility of seeking a formal agreement with the state, but he considered
such an approach foolhardy from a tactical standpoint As in Lane v. Singleta;y, 44 F.3d 943, 944-
45 (11‘h Cir. 1994), it is not ineffective assistance to advise a plea agreement that could result in a
subsequent prosecution when counsel had strong reason to believe no subsequent prosecution would
ensue Indeed, had Mr. Popuch tried to reach an agreement with the Will County prosecutors he
might have enhanced the chances of a state prosecution by calling the crime to the attention of local
authorities

Certainly Mr. Popuch’s advice to plead guilty in this case to the plea agreement was within
the realm of reasonable advice Mr. Tezak suggests no reason to think that Mr. Popuch’s advice fell
below the minimum standard of representation required by the Sixth Amendment in this regard
Nowhere does Mr. Tez.ak assert that he did not know of the possibility that he could be prosecuted
by the State Nor does he assert that he would have gone to trial if Mr. Popuch had told him that an
admission of the PIC fire facts might lead to a state prosecution Finally, nowhere does Mr. Tezak
suggest that the government would have offered him a plea agreement without an admission of facts
relating to the PIC fire These omissions are fatal to Mr. Tezak’s amended petition

Mr. Popuch’s reasonable advice lessened l\/lr. Tezak’s sentencing exposure on the federal
charges by 15 years by accepting a plea agreement that did not require him to plead guilty to counts
three and four of the superseding information Mr. Tezak fails to explain how Mr. Popuch’s alleged

14

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error in failing to predict a state prosecution would have led to a different federal plea agreement
lndeed, as the Seventh Circuit has stated, an inaccurate prediction is insufficient to amount to
ineffective assistance of counsel Arvanitis, 902 F.2d at 494. This is the most that can be said of
Mr. Popuch’s assurance that a guilty plea would end all prosecution and allow Mr. Tezak to get on
with his life

ln sum, Mr. Tezak was forcefully warned of the limitations and terms of this plea agreement
in open court by the Court on the record His voluntary plea of guilty cannot now be attacked by
engaging in speculation that his lawyer would have been better off to plead Mr. Tezak to additional
counts in order to bar state prosecution or that a better lawyer would have negotiated a better deal
that did not include Mr. Tezak’s admission of the PIC fire Mr. Tezak’s only choice was trial, a path
he did not want to take Mr. Popuch’s advice was sound A plea cut his exposure to jail by 15 years,
avoided potentially higher arson guidelines and increased the chances of a reduction in the
guidelines by accepting responsibility ln light of the massively incriminating evidence of Mr.
Tezak’s guilt in connection with the PIC fire, Mr. Tezak was well advised to plead guilty to the plea
agreement in this case.

For these reasons, we find that Mr. Tezak has failed to show that he was denied effective
assistance of counsel in connection with the decision to plead guilty.

B. The Appeal

An attorncy’s failure to perfect an appeal when the defendant has indicated a desire to appeal
constitutes ineffective assistance of counsel Clav v. Director Juvenile Division. Department of
Corrections, 749 F.2d 427, 431 (7th Cir. 1984); Hollis v. United States, 687 F.2d 257, 259 (8th Cir.

1982), @_. denies 459 U.s. 1221 (1983).

15

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In this case, Mr. Tezak claims that he instructed his counsel, Mr. Popuch, to file an appeal.
In his affidavit Mr. Tezak states, “[f]ollowing my sentencing in the federal case (92 CR 652) on
August 29, 1994, I instructed my counsel, Steven Popuch, to file an appeal l did so on numerous
Occasions verbal ly and l also wrote him several letters to this effect, including correspondence dated
August 4, 1994.... Despite my repeated instructions l\/lr. Popuch did not file a Notice of Appeal. Mr.
Popuch apparently felt that an appeal would be unsuccessful.”

Mr. Tezak also offered the affidavits of two of his lawyers in support of his assertion
Attorney Cook’s affidavit indicates that ‘[d]uring the sentencing...and subsequent to that time, he
was advised by l\/lr. Tezak that Mr. Tezak desired for his criminal attorney, Steven Popuch, to take
an appeal from the sentencing decision of the United States District Court which Mr. Tezak
perceived as unfair and unlawful... On several occasions, Mr. Tezak informed [Mr. Cook] that Mr.
Tezak had timely and repeatedly told his criminal attorney, Steven Popuch, to file a Notice of Appeal
in the criminal pi'oceeding.” Affidavit of Cook, 11 4-5 . Mr. Tezak also submitted the affidavit of
his attorney Paul Conant Mr. Conant’s affidavit indicates that Mr. Tezak’s desire was to appeal his
sentence if he was dissatisfied with the ultimate sentence pronounced at the conclusion of the
sentencing Affidavit of Conant ‘ll 7.

Based on these assertions the Court allowed discovery on this issue The depositions of
attorneys Webb, Popuch, Casey, and Shein were taken Mr. Webb stated that Mr. Tezak never asked
him to file a notice of appeal and never communicated to Mr. Webb a desire to appeal, but that at
some point after the sentencing and the time for appeal had expired, Mr. Tezak had expressed some
general complaint about the failure to file a notice of appeal Mr. Webb specifically discounted the

strength of this recollection said it was a very general recollection and that he had no specific

16

Case: 1:96-cv-O7936 Docurnent #: 21 Filed: 05/187‘00 Page 18 of 25 Page|D #:20

recollection of l\/lr. Tezak complaining about Mr. Popuch in this regard Mr. Popuch categorically
denied that he had ever been asked to file a notice of appeal by Mr. Tezak.

l\/[r. Cascy testified at his deposition that Mr. Tezak told him that he wanted a notice of
appeal filed Mr. Cascy claims that he told Mr. Popuch that Mr. Tezak requested that a notice of
appeal be filed l\/lr. Casey presented copies of notes taken by him during visits With Mr. Tezak. The
notes indicate that Mr. Tezak requested that an appeal be filed Ms. Shein testified in her deposition
that She advised l\/lr. Tezak after the sentencing that, in her opinion, there was no viable appeal She
advised Mr. Tezak that it was in his best interests to pay the restitution and pursue a Rule 35 motion
Ms Shein testified that Mr. Tezak agreed with this proposition

The Court then held an evidentiary hearing on the issue of whether Mr. Tezak’s counsel
ignored a direction to file a notice of appeal Mr. Tezak declined the opportunity to testify, and no
witnesses were called for the defendant Mr. Cascy did not testify at the hearing. lnstead, the
government presented the testimony of Steven Popucli. Mr. Popuch categorically denied that he had
been asked to file a notice of appeal for Mr. Tezak and denied that his associate J im Casey, ever
advised him that l\/lr. Tezak wanted an appeal filed

Furthcr evidence presented to the Court includes Susan Mahoney’s memorandum of a
conversation with l\/lr. Casey. l\/lr. Cascy stated to l\/ls Mahoney on September 7, 1994 that “they
had not yet filed a Notice of Appeal, but that they planned to do so the next day, September 8"‘. He
said that when it was filed, he would send us a copy. Cascy said that he had discussed the appeal
extensively with l3ob in an attempt to convince him that there was no appealable issue He indicated
that he felt that 13ob was in agreement but that lie wanted to file the Notice to be safe.” Exhibit

attached to Webb Deposition Transcript, Memorandum of Susan Mahoney dated September 9, 1994.

17

Case: 1:96-cv-O7936£)ocument #: 21Fi+ed.~65/18700`F’age 19 of 25 Page|D #:21

The evidence before the Court is conflicting, and we are forced to make a credibility
determination. On the one hand, we have the testimony of Mr. Cascy that Mr. Tezak told him that
he wanted to appeal and that Mr. Casey forwarded this message to Mr. Popuch. On the other hand,
we have the testimony of Mr. Webb and Mr. Popuch that Mr. Tezak never communicated to them
his desire to appeal. ln addition, Mr. Popuch denies that Mr. Cascy ever told him that Mr. Tezak
desired to appeal. Ms. Shein’s testimony indicates that she discussed the issue of appeal with Mr.
Tezak and that l\/lr. Tezak agreed with her that he should pursue a Rule 35 motion rather than an
appeal because there were no viable issues for appeal.

ln evaluating the conflicting evidence, we can only draw the reasonable conclusion that, as
Mr. Popuch and l\/ls. Shein testified immediately after sentencing, Mr. Tezak had agreed to forego
the appeal in favor of the Rule 35 motion. l\/lr. Tezak initially accepted Mr. Popuch’s and Ms.
Shein’ s tactical advice to quickly make restitution and seek a reduction after demonstrating remorse
and acceptance of responsibility to this Court. Even on September 7, 1994, Mr. Tezak was still in
agreement that no appeal Should be taken.

However, on September 15, 1994, to be on the safe side, Mr. Cascy filed a motion to extend
the time for filing a notice of appeal. In that motion, Mr. Tezak’s lawyers, Mr. Casey and Mr.
Popuch, erroneously stated that the date of the final judgment was August 5, 1994, instead of the
actual date on which the judgment was entered on the record, August lO, 1994. This Court denied
the motion due to its apparent untimeliness and because it made no showing of excusable neglect.
The only reasonable conclusion we can draw is that Mr. Tezak had agreed to forego the appeal in
favor of the tactically more sound and potentially much more expeditious reduction that could be

sought pursuant to Rule 35, as he was advised by Mr. Popuch and Ms. Shein.

18

Case: 1:96-cv-O7936 Document #: 21_|E`rted: O5/18700' Page 20 of 25 Page|D #:22

Mr. Tezak has only the support of the one lawyer familiar with the facts of the case, Mr.
Casey. We find that the testimony of Mr. Casey is not credible. Mr. Casey’s deposition
demonstrates that he has a bias against Mr. Popueh. Mr. Popuch testified that Mr. Casey forged a
check stolen from Mr. Popuch. Mr. Casey refused to answer questions relating to his theft of
property and forgery of checks while employed by Mr. Popuch. Thus, there is an explanation as to
why Mr. Cascy is biased against Mr. Popuch-- because Mr. Cascy stole from Mr. Popuch and Mr.
Casey later abandoned his practice and law license. Therefore, we do not credit Mr. Casey’s
testimony on the notice of appeal issue.

ln evaluating the evidence, we do not believe that Mr. Tezak’s lawyer’s failure to file a
timely notice of appeal in spite of his repeated requests would have resulted in a multi-year period
of silence by Mr. Tezak. We note that he made no public complaint that his lawyers had failed to
file a notice of appeal on his behalf, even though he had the opportunity and every reason to do so
during and before his presentation, argument, and court appearance with Mr. Popuch and Mr. Webb
on his Rule 35 motion. l\/lr. Tezak, an active client, could easily have complained while there was
still time about l\/lr. Popuch’s alleged failure to file a notice of appeal. lt is clear that following such
a disappointment, the files of Mr. Webb, Mr. Popuch, and Ms. Shein would have been filled with
written recriminations regarding this failure on the part of Mr. Popuch.

In evaluating the strength of Mr. Tezak’s written affidavit, we should consider the fact that
Mr. Popuch’s file contains numerous pieces of correspondence from Mr. Tezak regarding all of the
strategies and tactics of his case, yet the August 4, 1994 letter from Bob Tezak to “Steve” requesting
that his appeal be filed is not in Mr. Popuch’s case file. We believe that Mr. Tezak never sent it to

Mr. Popueh.

19

Case: 1:96-cv-O7936-Bocument #: 21"|Eited: O5/18700'Page 21 of 25 Page|D #:23

Finally, although we are mindful of the recent Supreme Court opinion in Roe v. Flores-
Q_r@ga, 120 S. Ct. 1029 (Feb. 23, 2000) and the Seventh Circuit’s opinion in Castellanos v. United
m, 26 F.3d 717 (7th Cir. 1994), we must point out that Mr. Tezak had little chance of success
on appeal Mr. Teaak claims that he desired to appeal the consecutive nature of his sentence and the
three-point enhancement applied in connection with the Sentencing Guidelines calculations
pertaining to count 5. Two of the counts which Mr. Tezak pled guilty to are pre-Guidelines offenses
Appellate review of a district court’s sentencing decision is extremely narrow in pre-Guidelines
cases United States v. Crabtree, 37 F.3d 318, 320 (?th Cir. 1994); United States v. McClain, 2 F.3d
205, 206 (7th Cir. 1993). The Seventh Circuit will affirm a sentence that is within the statutory
limits unless “the court based the sentence upon improper considerations or unreliable information
in exercising its discretion or failed to exercise any discretion at all in imposing the sentence.”

United States v. Lewis, 910 F.2d 1367, 1373 ('/'th Cir. 1990). Therefore, it is unlikely that Mr. Tezak

 

would have prevailed on appeal
ln sum, the credible evidence in this case indicates that Mr. Tezak waived his right to appeal
and never decided to take an appeal until after the time for filing the notice of appeal had expired
As a result, l\/Ir. Casey then filed a late notice of appeal We find that Mr. Tezak has failed to
credibly show that he asked Mr. Popuch to appeal the sentence or that Mr. Popuch refused to do so.
In conclusion, this Court is convinced that Mr. Tezak received extraordinarily competent
representation and that his sentence in all respects was the appropriate one given his criminal

behavior. Theref`ore, the requested relief on this count of the § 2255 petition is denied

20

Case: 1:96-cv-O7936-Document #: 2-1-Fifedr'O5/187‘00d3age 22 of 25 Page|D #:24

Il. LACK OF JURISDICTION

Finally, l\/lr. Tezak claims that he is entitled to relief because the court lacked jurisdiction
over this case. The amended petition recites that the factual basis for the guilty plea on counts one
and two included the admission that the bowling alley was used in activities which affected interstate
commerce through the operation of a business that regularly sold beverages and used supplies and
materials produced outside the State of Illinois. The amended petition claims that “this Court does
not have jurisdiction over a violation of 18 U.S.C. 844(i) unless a substantial impact on interstate
commerce is established.” Mr. Tezak asserts that the “mere obtaining of material from outside the
state in connection with a purely intrastate business activity is insufficient to establish the required
Substantial impact on interstate commerce.” Based on these allegations, the amended petition asks
that the Court set aside Mr. Tezak’s plea on counts one and two because the Court lacked
jurisdiction

Such a claim gives rise to a right to relief in the context of a guilty plea only when on the
“faee of the record [it is clear that] the court had no power to enter the conviction or impose the

sentence.” United States v. Broce, 488 U. S. 563, 569 (1989). In this case, the Court clearly had

 

subject matter jurisdiction over the crime charged in the indictment The jurisdictional basis for the
exercise of the Court’s power over l\/lr. Tezak was the return of an indictment and the subsequent
filing of a superseding information, to which Mr. Tezak consented in open court, charging him with
all of the elements of five federal crimes. Congress authorized prosecution of individuals for
violations of 13 U.S.C.§§ 371 and 844(i). Counts one and two of the superseding information
properly charged all of the essential facts constituting these offenses. See Fed R. Crim. P. 7(0)(1).

As a result, this Court had subject matter jurisdiction over the case pursuant to 18 U.S.C. § 3231.

21

Case: 1:96-cv-O793690cument#:~2-1~F`rled: 05/18/00 Page 23 of 25 Page|D #:25

Mr. Tezak next generally argues that 18 U.S.C. § 844(i) is unconstitutional, but he offers no
support for this proposition We find that this argument is waived because it was not raised by Mr.
Tezak in any pre-trial motions. Rule 12 requires that attacks upon an indictment based on a facial
defect be raised prior to trial or guilty plea. Mr. Tezak did not do so. He cannot attack the

constitutionality ofthe statue in a collateral proceeding l'lowever, even if he could, United States v.

 

Bu_sseJ, 471 U.S. 85 8 (1985) is controlling. lt holds that Congress intended to exercise its full power
under the commerce clause in enacting 844(i). 1n so holding, the Ms_ell court indicated that 844(i),
requiring that the government prove an affect on commerce was constitutional on its face. hs_se_l_l
went further and decided that arson of rental real property without more, did, in fact, affect interstate
commerce and could constitutionally be criminalized

Mr. Tezak attacks the constitutionality of the statute by pointing to the decision in D_rm§d
States v. Lopez, 514 U.S. 549 (1995). According to Mr. Tezak, l_.gp§; prohibits Congress from
criminalizing any act that does not itself have a substantial effect on commerce. Thus, § 844(i) could
not constitutionally be applied to an arson which had an actual but de minimis effect on commerce

The Seventh Circuit has rejected this reading of the Lopez decision in United States v. Hicks, 106

 

F.sei 137 mut Cir. 199?), united states v. wing 104 F.sei 936 (7th Cir. 1997) end United states v.

 

_MLrt_in, 63 F.3d l422 (7'th Cir. 1995). As these decisions held, Congress can criminalize any
conduct that has an actual or potential “de minimis” effect on commerce as long as the crime
requires such an effect as an elementl ln the context of the arson statute, the activity regulated is the
burning of property used in or affecting commerce and “it doesn’t take any fancy intellectual
footwork to conclude that the aggregate effect of such arsons on commerce is substantial.” gick_S,

106 F.3d at 192. Thus, as in Hicks, the Galaxy Bowl fire implicated out of state insurance

22

Case: 1:96-cv-O7936-Document #: 21-Fi+edrO5/18/06Page 24 of 25 Page|D #:26

companies and a business that bought supplies from out of state. Certainly, as a matter of fact, a
business that “regularly” sells beverages and uses material and supplies manufactured outside the
state of Illinois has “by itself" a substantial impact on interstate commerce. However, as a class,
bowling alleys by the thousands are engaged in such activity nationwide. Thus, as in §i_c§, the
commerce element was constitutionally satisfied

The only conceivable way to avoid the apparent limitation on Mr. Tezak’s attempted
collateral attack imposed by B_roc_e would be to complain about the ineffective assistance of counsel
in connection with the failure to advise defendant to try the case and challenge the commerce
element However, l\/lr. Tezak does not suggest that Mr. Popuch was ineffective in allowing him to
plead guilty to this criminal conduct because of a commerce clause defense. Mr. Tezak has offered
no claim, argument or other information in support of this ground for relief. In addition, as Mr.
Webb has testified interstate commerce was not viewed as a viable factual defense to the charges
in preparing for trial, and he could think of no reason to criticize the plea agreement in this regard
Webb Deposition, Tr. 29-30.

For all of these reasons, Mr. Tezak’s claim that the Court lacked jurisdiction is denied

23

Case: 1:96-cv-O7936499cument #: 21 Fded 05/18/00 Page 25 of 25 Page|D #:27

CONCLUSION
For the foregoing reasons, the amended § 2255 habeas corpus petition brought by Robert

Tezak is denied l\/lr. Tezak’s motion to recuse this Court also is denied This is a final and

appealable ordcr.

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ayne R. Andersen
United States District Judge

Dated: 2 Z(QW: ja , go@&

24

